                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


DAMIEN SHONTELL HEWLETT,

               Plaintiff,

       v.                                                      Case No. 24-C-377

JUSTIN L. THOMSEN, et al.,

               Defendants.


                                     SCHEDULING ORDER


       Defendants having responded to plaintiff’s complaint, the court sets the following scheduling

order to move this case toward resolution.

       The court hereby ORDERS as follows:

1.     Discovery. During discovery, the parties may ask each other for information that they believe
       they need to support their arguments. A party may send an opposing party written questions
       (called interrogatories in the Federal Rules of Civil Procedure) or requests for documents. The
       responding party must serve its answers and any objections within sixty days after being served
       with the discovery requests.

       Parties must serve their discovery requests by a date sufficiently early so that all discovery is
       completed no later than November 27, 2024. The Court orders that the parties’ time to respond
       to discovery requests is extended from thirty days to sixty days (that means that the parties
       must serve their requests at least sixty days before the deadline to allow the opposing party
       sufficient time under the rules to respond by the deadline). Parties generally should serve their
       discovery requests on the opposing party by mailing the requests; parties must not file their
       requests with the Court. Parties are not obligated to respond to requests that are not properly
       served. The Court has included with this order copies of Rules 33 and 34, and Civil Local Rule
       33 (E.D. Wis.).

       The court advises the parties that, pursuant to Rule 30(a) of the Federal Rules of Civil
       Procedure, the defendant may depose Hewlett and any other witness confined in a prison upon
       condition that, at least fourteen days before such a deposition, the defendant serve all parties
       with the notice required by the rule. Further, pursuant to Rule 30(b)(4), depositions of any
       person confined in a prison may be taken by remote means.



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2.     Motions for Summary Judgment. Defendants may file a motion for summary judgment on
       the ground Hewlett failed to exhaust the available administrative remedies, together with
       supporting materials, no later than August 12, 2024. Parties may file motions for summary
       judgment on the merits, together with supporting materials, no later than December 27, 2024.
       The court has included with this order copies of Rule 56 and Civil Local Rules 7 and 56 (E.D.
       Wis.).

       A party opposing a motion for summary judgment must file a response “within 30 days of
       service of the motion.” Civil Local Rule 56(b)(2) (E.D. Wis.). Civil Local Rule 56(b)(2) sets
       forth the documents and information that a party must include in a response to a motion for
       summary judgment. Along with any motion for summary judgment they file, the defendant
       must provide a pro se plaintiff a full copy of Civil Local Rule 56(b).

       If a party files a motion for summary judgment, Rule 56 requires a district court to grant
       summary judgment “if the movant shows that there is no genuine dispute as to any material
       fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

3.     Compliance with Court Rules and Orders. The court further advises Hewlett that failure to
       make a timely submission or otherwise comply with the court’s orders may result in the
       dismissal of this case for failure to prosecute.

4.     Updates to Address. The court further advises Hewlett that it is his responsibility to promptly
       notify the court if he is released from custody or transferred to a different institution. Hewlett’s
       failure to keep the court advised of his whereabouts may result in dismissal of this case without
       further notice.

5.     Service. Plaintiffs who are inmates at Prisoner E-Filing Program institutions1 must submit all
       correspondence and case filings to institution staff, who will scan and e-mail documents to the
       court pursuant to the Prisoner E-Filing Program. Those plaintiffs do not need to mail copies to
       either the court or the defendants. The defendants will be served electronically through the
       court’s electronic case filing system.

       Plaintiffs who are inmates at all other prison facilities must submit the original document for
       each filing to the court to the following address: Clerk of Court, United States District Court
       for the Eastern District of Wisconsin, 125 S. Jefferson St. - Rm. 102, Green Bay, WI 54301.
       Because the court staff will electronically scan and enter on the docket each filing upon receipt,
       a plaintiff does not need to mail copies to the defendants. The defendants will be served
       electronically through the court’s electronic case filing system.

       Under Federal Rule of Civil Procedure 5(d)(1), parties must serve discovery requests and
       responses—depositions, interrogatories, requests for documents or tangible things, and

1Prisoner E-Filing is mandatory for all inmates of Dodge Correctional Institution, Green Bay
Correctional Institution, Waupun Correctional Institution, Wisconsin Secure Program Facility,
Columbia Correctional Institution, and Oshkosh Correctional Institution.



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     requests for admission—on the opposing party, and must not file them with the court unless
     and until a party wishes to use them to support a motion or other pleading, or unless the court
     orders a party to file them. A plaintiff must mail these discovery requests and responses directly
     to counsel for the defendant. See Fed. R. Civ. Pro. 5(b).

     THE PARTIES SHOULD NOT MAIL ANYTHING DIRECTLY TO THE JUDGE’S
     CHAMBERS. It will only delay the processing of the case.

6.   Motions for Recruitment of Counsel. A civil litigant has no right to have a lawyer represent
     him in a civil action. Under some circumstances, the “Court may request an attorney to
     represent any person unable to afford counsel.” 28 U.S.C. §1915(e)(1). Pro bono resources
     are scarce in comparison to the number of cases filed by prisoners. As a result, the Court will
     exercise its discretion to find a lawyer to represent a plaintiff only (1) after the plaintiff has
     made reasonable attempts to find a lawyer himself; and (2) if the Court believes that “‘the
     difficulty of the case—factually and legally—exceeds the particular plaintiff’s capacity as a
     layperson to coherently present it.’” Navejar v. Iyiola, 718 F.3d 692, 696 (7th Cir. 2013)
     (quoting Pruitt v. Mote, 503 F.3d 647, 655 (7th Cir. 2007) (en banc)). Finally, the Court may
     consider the merits and what is at stake when deciding whether to allocate scarce pro bono
     counsel resources. Watts v. Kidman, 42 F.4th 755, 765 (7th Cir. 2022).

     Before Hewlett asks the court to recruit a lawyer to represent him, he first must contact several
     lawyers to see if he can find a lawyer on his own. If none of the lawyers Hewlett contacts agree
     to represent him, he then may file a motion asking the court to appoint counsel, but he must
     attach to that motion letters or other evidence showing that he tried to find a lawyer but was
     unsuccessful. Even if Hewlett does that, he also must show that the case is sufficiently complex
     or difficult that he cannot present the case without a lawyer’s help.Hewlett must show more
     than just that he does not have money and does not have legal training in order for the court to
     recruit a lawyer to represent him.

     Plaintiff is advised that, as a condition of the Court recruiting a lawyer to represent a plaintiff
     in a civil action in the United States District Court for the Eastern District of Wisconsin, the
     Court may require a plaintiff to reimburse the Court out of any proceeds received (1) in
     settlement of his/her claim or claims, or (2) upon prevailing other than by settlement of his/her
     claim or claims, for any expenses and/or costs that are reimbursed by the Court to a recruited
     attorney.

     SO ORDERED this 28th day of June, 2024.



                                                      s/ William C. Griesbach
                                                      WILLIAM C. GRIESBACH
                                                      United States District Judge




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Federal Rule of Civil Procedure 33, Interrogatories to Parties

(a) In General.
         (1) Number. Unless otherwise stipulated or ordered by the court, a party may serve on any other
         party no more than 25 written interrogatories, including all discrete subparts. Leave to serve
         additional interrogatories may be granted to the extent consistent with Rule 26(b)(1) and (2).
         (2) Scope. An interrogatory may relate to any matter that may be inquired into under Rule 26(b).
         An interrogatory is not objectionable merely because it asks for an opinion or contention that relates
         to fact or the application of law to fact, but the court may order that the interrogatory need not be
         answered until designated discovery is complete, or until a pretrial conference or some other time.
(b) Answers and Objections.
         (1) Responding Party. The interrogatories must be answered:
                  (A) by the party to whom they are directed; or
                  (B) if that party is a public or private corporation, a partnership, an association, or a
                  governmental agency, by any officer or agent, who must furnish the information available
                  to the party.
         (2) Time to Respond. The responding party must serve its answers and any objections within 30
         days after being served with the interrogatories. A shorter or longer time may be stipulated to under
         Rule 29 or be ordered by the court.
         (3) Answering Each Interrogatory. Each interrogatory must, to the extent it is not objected to, be
         answered separately and fully in writing under oath.
         (4) Objections. The grounds for objecting to an interrogatory must be stated with specificity. Any
         ground not stated in a timely objection is waived unless the court, for good cause, excuses the
         failure.
         (5) Signature. The person who makes the answers must sign them, and the attorney who objects
         must sign any objections.
(c) Use. An answer to an interrogatory may be used to the extent allowed by the Federal Rules of Evidence.
(d) Option to Produce Business Records. If the answer to an interrogatory may be determined by examining,
auditing, compiling, abstracting, or summarizing a party's business records (including electronically stored
information), and if the burden of deriving or ascertaining the answer will be substantially the same for
either party, the responding party may answer by:
         (1) specifying the records that must be reviewed, in sufficient detail to enable the interrogating
         party to locate and identify them as readily as the responding party could; and
         (2) giving the interrogating party a reasonable opportunity to examine and audit the records and to
         make copies, compilations, abstracts, or summaries.

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Federal Rule of Civil Procedure 34, Producing Documents, Electronically Stored Information,
and Tangible Things, or Entering onto Land, for Inspection and Other Purposes

(a) In General. A party may serve on any other party a request within the scope of Rule 26(b):
        (1) to produce and permit the requesting party or its representative to inspect, copy, test, or sample
        the following items in the responding party's possession, custody, or control:
                 (A) any designated documents or electronically stored information—including writings,
                 drawings, graphs, charts, photographs, sound recordings, images, and other data or data
                 compilations—stored in any medium from which information can be obtained either
                 directly or, if necessary, after translation by the responding party into a reasonably usable
                 form; or
                 (B) any designated tangible things; or
        (2) to permit entry onto designated land or other property possessed or controlled by the responding
        party, so that the requesting party may inspect, measure, survey, photograph, test, or sample the
        property or any designated object or operation on it.
(b) Procedure.
        (1) Contents of the Request. The request:
                 (A) must describe with reasonable particularity each item or category of items to be




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                 inspected;
                 (B) must specify a reasonable time, place, and manner for the inspection and for performing
                 the related acts; and
                 (C) may specify the form or forms in which electronically stored information is to be
                 produced.
        (2) Responses and Objections.
                 (A) Time to Respond. The party to whom the request is directed must respond in writing
                 within 30 days after being served or — if the request was delivered under Rule 26(d)(2) —
                 within 30 days after the parties’ first Rule 26(f) conference. A shorter or longer time may
                 be stipulated to under Rule 29 or be ordered by the court.
                 (B) Responding to Each Item. For each item or category, the response must either state
                 that inspection and related activities will be permitted as requested or state with specificity
                 the grounds for objecting to the request, including the reasons. The responding party may
                 state that it will produce copies of documents or of electronically stored information instead
                 of permitting inspection. The production must then be completed no later than the time for
                 inspection specified in the request or another reasonable time specified in the response.
                 (C) Objections. An objection must state whether any responsive materials are being
                 withheld on the basis of that objection. An objection to part of a request must specify the
                 part and permit inspection of the rest.
                 (D) Responding to a Request for Production of Electronically Stored Information. The
                 response may state an objection to a requested form for producing electronically stored
                 information. If the responding party objects to a requested form—or if no form was specified
                 in the request—the party must state the form or forms it intends to use.
                 (E) Producing the Documents or Electronically Stored Information. Unless otherwise
                 stipulated or ordered by the court, these procedures apply to producing documents or
                 electronically stored information:
                          (i) A party must produce documents as they are kept in the usual course of business
                          or must organize and label them to correspond to the categories in the request;
                          (ii) If a request does not specify a form for producing electronically stored
                          information, a party must produce it in a form or forms in which it is ordinarily
                          maintained or in a reasonably usable form or forms; and
                          (iii) A party need not produce the same electronically stored information in more
                          than one form.
(c) Nonparties. As provided in Rule 45, a nonparty may be compelled to produce documents and tangible
things or to permit an inspection.

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Federal Rule of Civil Procedure 56, Summary Judgment

(a) Motion for Summary Judgment or Partial Summary Judgment. A party may move for summary
judgment, identifying each claim or defense--or the part of each claim or defense--on which summary
judgment is sought. The court shall grant summary judgment if the movant shows that there is no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law. The court should
state     on    the      record     the    reasons     for     granting      or    denying     the     motion.
(b) Time to File a Motion. Unless a different time is set by local rule or the court orders otherwise, a party
may file a motion for summary judgment at any time until 30 days after the close of all discovery.
(c) Procedures.
         (1) Supporting Factual Positions. A party asserting that a fact cannot be or is genuinely disputed
         must support the assertion by:
                 (A) citing to particular parts of materials in the record, including depositions, documents,
                 electronically stored information, affidavits or declarations, stipulations (including those
                 made for purposes of the motion only), admissions, interrogatory answers, or other
                 materials; or
                 (B) showing that the materials cited do not establish the absence or presence of a genuine
                 dispute, or that an adverse party cannot produce admissible evidence to support the fact.




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          (2) Objection That a Fact Is Not Supported by Admissible Evidence. A party may object that the
          material cited to support or dispute a fact cannot be presented in a form that would be admissible
          in evidence.
          (3) Materials Not Cited. The court need consider only the cited materials, but it may consider other
          materials in the record.
          (4) Affidavits or Declarations. An affidavit or declaration used to support or oppose a motion must
          be made on personal knowledge, set out facts that would be admissible in evidence, and show that
          the affiant or declarant is competent to testify on the matters stated.
(d) When Facts Are Unavailable to the Nonmovant. If a nonmovant shows by affidavit or declaration that,
for specified reasons, it cannot present facts essential to justify its opposition, the court may:
          (1) defer considering the motion or deny it;
          (2) allow time to obtain affidavits or declarations or to take discovery; or
          (3) issue any other appropriate order.
(e) Failing to Properly Support or Address a Fact. If a party fails to properly support an assertion of fact or
fails to properly address another party's assertion of fact as required by Rule 56(c), the court may:
          (1) give an opportunity to properly support or address the fact;
          (2) consider the fact undisputed for purposes of the motion;
          (3) grant summary judgment if the motion and supporting materials--including the facts considered
          undisputed--show that the movant is entitled to it; or
          (4) issue any other appropriate order.
(f) Judgment Independent of the Motion. After giving notice and a reasonable time to respond, the court
may:
          (1) grant summary judgment for a nonmovant;
          (2) grant the motion on grounds not raised by a party; or
          (3) consider summary judgment on its own after identifying for the parties material facts that may
          not be genuinely in dispute.
(g) Failing to Grant All the Requested Relief. If the court does not grant all the relief requested by the
motion, it may enter an order stating any material fact--including an item of damages or other relief--that
is not genuinely in dispute and treating the fact as established in the case.
(h) Affidavit or Declaration Submitted in Bad Faith. If satisfied that an affidavit or declaration under this
rule is submitted in bad faith or solely for delay, the court--after notice and a reasonable time to respond--
may order the submitting party to pay the other party the reasonable expenses, including attorney's fees, it
incurred as a result. An offending party or attorney may also be held in contempt or subjected to other
appropriate sanctions.

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Civil Local Rule 7, Form of Motions and Other Papers

(a) Form of Motion and Moving Party’s Supporting Papers. Every motion must state the statute or rule
pursuant to which it is made and, except for those brought under Civil L. R. 7(h) (Expedited Non-Dispositive
Motion Practice), must be accompanied by:
        (1) a supporting memorandum and, when necessary, affidavits, declarations, or other papers; or
        (2) a certificate stating that no memorandum or other supporting papers will be filed.
(b) Non-Moving Party’s Response. For all motions other than those for summary judgment or those brought
under Civil L. R. 7(h) (Expedited Non-Dispositive Motion Practice), any memorandum and other papers in
opposition must be filed within 21 days of service of the motion.
(c) Reply. For all motions other than those for summary judgment or those brought under Civil L. R. 7(h)
(Expedited Non-Dispositive Motion Practice), the moving party may serve a reply memorandum and other
papers within 14 days from service of the response memorandum.
(d) Sanction for Noncompliance. Failure to comply with the briefing requirements in Civil L. R. 7(a)-(b) may
result in sanctions up to and including the Court denying or granting the motion. Sanctions remain
available under General L. R. 83(f).




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(e) Oral Argument. The Court will hear oral argument at its discretion.
(f) Length of Memoranda. Subject to the limitations of Civil L. R. 7(h) (Expedited Non-Dispositive Motion
Practice) and Civil L. R. 56 (Summary Judgment Motion Practice), the principal memorandum in support
of, or in opposition to, any motion must not exceed 30 pages and reply briefs must not exceed 15 pages
(excluding any caption, cover page, table of contents, table of authorities, and signature block). No
memorandum exceeding the page limitations may be filed unless the Court has previously granted leave to
file an oversized memorandum.
(g) Modification of Provisions in Particular Cases. The Court may provide by order or other notice to the
parties that different or additional provisions regarding motion practice apply.
(h) Expedited Non-Dispositive Motion Practice.
          (1) Parties in civil actions may seek non-dispositive relief by expedited motion. The motion must be
          designated as a “Civil L. R. 7(h) Expedited Non-Dispositive Motion.” The Court may schedule the
          motion for hearing or may decide the motion without hearing. The Court may designate that the
          hearing be conducted by telephone conference call. The Court may order an expedited briefing
          schedule.
          (2) The motion must contain the material facts, argument, and, if necessary, counsel’s certification
          pursuant to Civil L. R. 37. The motion must not exceed 3 pages excluding any caption and signature
          block. The movant may not file a separate memorandum with the motion. The movant may file with
          the motion an affidavit or declaration for purposes of (1) attesting to facts pertinent to the motion
          and/or (2) authenticating documents relevant to the issue(s) raised in the motion. The movant’s
          affidavit or declaration may not exceed 2 pages. The respondent must file a memorandum in
          opposition to the motion within 7 days of service of the motion, unless otherwise ordered by the
          Court. The respondent’s memorandum must not exceed 3 pages. The respondent may file with its
          memorandum an affidavit or declaration for purposes of (1) attesting to facts pertinent to the
          respondent’s memorandum and/or (2) authenticating documents relevant to the issue(s) raised in
          the motion. The respondent’s affidavit or declaration may not exceed 2 pages. No reply brief is
          permitted absent leave of Court.
          (3) The provisions of subsection (h) do not apply to 42 U.S.C. § 1983 actions brought by incarcerated
          persons proceeding pro se.
(i) Leave to file paper. Any paper, including any motion, memorandum, or brief, not authorized by the
Federal Rules of Civil Procedure, these Local Rules, or a Court order must be filed as an attachment to a
motion requesting leave to file it. If the Court grants the motion, the Clerk of Court must then file the paper.
(j) Citations.
          (1) With the exception of the prohibitions in Seventh Circuit Rule 32.1, this Court does not prohibit
          the citation of unreported or nonprecedential opinions, decisions, orders, judgments, or other
          written dispositions.
          (2) If a party cites an unreported opinion, decision, order, judgment or other written disposition, the
          party must file and serve a copy of that opinion, decision, order, judgment, or other written
          disposition.

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Civil Local Rule 33, Interrogatories.

(a) Limitation on Interrogatories.
        (1) Any party may serve upon any other party no more than 25 written interrogatories. The 25
        permissible interrogatories may not be expanded by the creative use of subparts.
        (2) For the purpose of computing the number of interrogatories served interrogatories inquiring
        about the names and locations of persons having knowledge of discoverable information or about
        the existence, location, or custodian of documents or physical evidence do not count toward the 25
        interrogatory limit.
        (3) More than 25 interrogatories may be served on a party only if that party agrees in writing or
        the Court so orders. A party seeking to serve more than 25 interrogatories may move the Court for
        permission only after seeking the agreement of the party on whom the additional interrogatories
        would be served. If a party desires to serve additional interrogatories, the party must promptly
        consult with the party to whom the additional interrogatories would be propounded and attempt to




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        reach a written stipulation as to a reasonable number of additional interrogatories. The stipulation
        allowing additional interrogatories to be served should not be filed with the Court except in
        connection with a motion to compel answers. If a stipulation cannot be reached, the party seeking
        to serve additional interrogatories may move the Court for permission to serve additional
        interrogatories.
        (4) The Court will not compel a party to answer any interrogatories served in violation of this rule
(b) Answering Interrogatories. An objection or an answer to an interrogatory must reproduce the
interrogatory to which it refers.

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Civil L. R. 56. Summary Judgment.
(a) Pro Se Litigation.
         (1) If a party is proceeding pro se in civil litigation and the opposing party files a motion for
         summary judgment, counsel for the movant must comply with the following procedure:
                  (A) The motion must include a short and plain statement that any factual assertion in the
                  movant’s affidavit, declaration, or other admissible documentary evidence will be accepted
                  by the Court as being true unless the party unrepresented by counsel submits the party’s
                  own affidavit, declaration, or other admissible documentary evidence contradicting the
                  factual assertion.
                  (B) In addition to the statement required by Civil L. R. 56(a)(1)(A), the text to Fed. R. Civ.
                  P. 56 (c),(d), and (e), Civil L. R. 56(a), Civil L. R. 56(b), and Civil L. R. 7 must be part of the
                  motion.
         (2) This procedure also applies to motions to dismiss brought pursuant to Fed. R. Civ. P. 12(b)(6) or
         motions for judgment on the pleadings pursuant to Fed. R. Civ. P. 12(c) where matters outside the
         pleadings are presented to the Court.
(b) Additional Summary Judgment Procedures. Motions for summary judgment must comply with Fed. R.
Civ. P. 56 and Civil L. R. 7. In addition, with the exception of Social Security reviews, other actions for
review of administrative agency decisions, and other actions in which a judge relieves the parties of this
Rule’s requirements, the following must be met:
         (1) Moving Party’s Principal Materials in Support of Motion. With each motion for summary
         judgment, the moving party must file:
                  (A) a memorandum of law;
                  (B) a statement setting forth any material facts to which all parties have stipulated;
                  (C) a statement of proposed material facts as to which the moving party contends there is
                  no genuine issue and that entitle the moving party to a judgment as a matter of law;
                           (i) the statement shall consist of short numbered paragraphs, each containing a
                           single material fact, including within each paragraph specific references to the
                           affidavits, declarations, parts of the record, and other supporting materials relied
                           upon to support the fact described in that paragraph;
                           (ii) a moving party may not file more than 150 separately numbered statements of
                           fact;
                           (iii) failure to submit such a statement constitutes grounds for denial of the motion;
                           and
                  (D) any affidavits, declarations, and other materials referred to in Fed. R. Civ. P. 56(c).
         (2) Opposing Party’s Materials in Opposition. Each party opposing a motion for summary judgment
         must file within 30 days of service of the motion and the materials required by subsection (b)(1),
         above:
                  (A) a memorandum of law;
                  (B) a concise response to the moving party’s statement of facts that must contain:
                           (i) a reproduction of each numbered paragraph in the moving party’s statement of
                           facts followed by a response to each paragraph, including, in the case of any
                           disagreement, specific references to the affidavits, declarations, parts of the record,
                           and other supporting materials relied upon, and
                           (ii) a statement, consisting of short numbered paragraphs, of any additional facts
                           that require the denial of summary judgment, including references to the




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                  affidavits, declarations, parts of the record, and other supporting materials relied
                  upon to support the facts described in that paragraph. A non-moving party may
                  not file more than 100 separately-numbered statements of additional facts. Each
                  separately-numbered paragraph shall be limited to one material fact; and
         (C) any opposing affidavits, declarations, and other materials referred to in Fed. R. Civ. P.
         56(c).
(3) Moving Party’s Materials in Reply. A moving party may file within 14 days of the service of the
opposing party’s materials under subsection (b)(2), above:
         (A) a reply memorandum;
         (B) a reply to any additional facts submitted by the opposing party pursuant to subsection
         (b)(2) above, in the form prescribed in section (b)(2)(B)(i) above; and
         (C) any affidavits, declarations, and other materials referred to in Fed. R. Civ. P. 56(c)
         submitted in reply.
(4) Effect of Uncontroverted Statements of Fact. The Court will deem uncontroverted statements of
material fact admitted solely for the purpose of deciding summary judgment.
(5) Stipulated Facts. Parties are encouraged to stipulate to facts. Facts so stipulated will not count
against any party’s allotment of proposed facts and do not require references to evidentiary support.
(6) Citations to Facts in Memoranda. Assertions of fact in the parties’ supporting memoranda must
refer to the corresponding numbered paragraph of the statement of facts, statement of additional
facts, or statement of stipulated facts.
(7) Prior Leave of Court Required to Increase the Number of Statements of Fact or Statements of
Additional Fact. A party may not file any proposed statements of material fact or statements of
additional fact in excess of the limit set forth in this rule unless the Court previously has granted
leave upon a showing that an increase is warranted.
(8) Length of Memoranda.
         (A) A principal memorandum in support of, or opposition to, summary judgment must not
         exceed 30 pages and a reply memorandum must not exceed 15 pages (excluding any caption,
         cover page, table of contents, table of authorities, and signature block).
         (B) No memorandum exceeding the page limitations may be filed unless the Court
         previously has granted leave to file an oversized memorandum.
(9) Sanction for Noncompliance. Failure to comply with the requirements in this rule may result in
sanctions up to and including the Court denying or granting the motion. Sanctions remain available
under General L. R. 83(f).
(10) Collateral Motions. Collateral motions, such as motions to strike, are disfavored.




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